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                                      BMO (in $)             Credit Suisse        Jefferies        Macquarie             Morgan Stanley               MUSE                     Nomura                 UBS
Loss/Credit Category
Margin Loan/Credit Extended                  0.00         510,142,916.32      8,065,436.12                0.00                                          0.00                                          0.00
Margin Recovered/Collateral Held    20,424,080.32         471,132,408.89                                  0.00           2,110,269,165.00               0.00                                204,692,694.00
Net Margin Loss                    ‐20,424,080.32          39,010,507.43      8,065,436.12                0.00          ‐2,110,269,165.00               0.00            475,775,728.32     ‐204,692,694.00

Variation Margin Paid to ACM                 0.00        5,132,954,806.00             0.00                                 14,464,464.00      280,350,000.00            137,158,818.00      174,207,174.00
Variation Margin Recovered           4,566,467.00          387,368,746.00                      194,136,049.49                       0.00       93,318,005.00                                683,541,029.00
Net Variation Margin Loss           ‐4,566,467.00        4,745,586,060.00    19,471,336.11    ‐194,136,049.49              14,464,464.00      187,031,995.00            137,158,818.00     ‐509,333,855.00

Swap Facilitation Cost             36,635,070.08         1,791,096,116.00                     2,119,254,063.86                                508,481,129.45          24,920,040,135.52               0.00
Equity Transaction Recoveries       6,169,455.17         1,250,696,466.00                     1,890,422,450.18                                430,918,930.55          22,684,006,469.00               0.00
Net Swaps Loss/Gain                30,465,614.91           540,399,650.00     6,981,519.56      228,831,613.68          2,884,711,647.00       77,562,198.90           2,236,033,666.52   1,574,335,331.00

Other payments to Archegos                                                    2,001,415.49

Private mediation                     434,938.88          409,351,547.65      3,065,822.10        2,672,036.71             48,470,000.00       20,440,135.32            224,298,217.00      66,252,555.00
Other recoveries                                            9,975,734.00                                                                                0.00

Total loss (excluding fees and
interest)                           5,040,128.71         4,905,668,935.78    33,453,885.18      32,023,527.48             740,436,946.00      244,154,058.58           2,624,669,995.84    794,056,227.00




                                                                                                                                                               BANK RESTITUTION TOTAL     9,379,503,704.57
